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t 4:19-cv-00003-EKD Document 17 Filed 02/22/19 Page 1lof2 Pageid#: 696

IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
VIRGINIA DANVILLE DIVISION

Susan O. Cardoza,

Plaintiff,

v. Case No. 4:19-cev-00003-EKD

Medical Device Business Services, Inc., et al.

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Defendants
PLAINTIFE’S MOTION TO REMAND

Pursuant to 28 U.S.C. § 1447 (c), for reasons stated in the accompanying Memorandum
in Support, which is incorporated by reference, Plaintiff, by counsel, respectfully moves that this
Court decline jurisdiction and remand this case to the Circuit Court of the City Danville; award
Plaintiff her costs, expenses, and attorney fees in connection with this matter; and grant such

other just relief that the Court deems proper.

Respectfully submitted,

SUSAN O, CARDOZA

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CERTIFICATE OF SERVICE

I hereby certify that on thisZZ. day of February, 2019, I electronically filed the foregoing in the
United States District Court for the Western District of Virginia, and a copy will be served by
CM/ECF upon:

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